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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

RICHARD LAWRENCE,                )
                                 )
                Plaintiff,       )                     Case No. 1:21-cv-01158-LPS
     v.                          )
                                 )
CORE-MARK HOLDING COMPANY, INC., )
STUART W. BOOTH, ROCKY DEWBRE,   )                     JURY TRIAL DEMANDED
LAURA FLANAGAN, ROBERT G. GROSS, )
SCOTT E. MCPHERSON, DIANE        )
RANDOLPH, HARVEY L. TEPNER, and  )
ROSEMARY TURNER,                 )
                                 )
                Defendants.      )
                                 )


                         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: October 13, 2021                          LONG LAW, LLC

                                            By: /s/ Brian D. Long
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